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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

   TIM P. BRUNDLE, on behalf of the                    )
   Constellis Employee Stock Ownership Plan            )
                                                       )
                 Plaintiff,                            )
                                                       )
   v.                                                  ) Civil Action No. 1:15cv1494-LMB-IDD
                                                       )
   WILMINGTON TRUST N.A., as successor to              )
   WILMINGTON TRUST RETIREMENT AND                     )
   INSTITUTIONAL SERVICES COMPANY,                     )
                                                       )
                 Defendant.                            )


                    DECLARATION OF JEFFREY S. TARBELL, ASA, CFA

          I, Jeffrey S. Tarbell, make this Declaration pursuant to section 1746 of Title 28 of the

   United States Code.

   I.     Summary of Opinion

          In December 2016, I provided expert witness testimony during the trial that the Court

   held in the above-captioned matter. At the request of Wilmington Trust and its counsel, I have

   reviewed the Court’s March 13, 2017 Memorandum Opinion, including the “Calculation of

   Damages” analysis within Section III of the Memorandum Opinion.

          It is my opinion that the Court erred in calculating the aggregate amount of damages. It is

   also my opinion, consistent with the Court’s ruling on page 65, that in order to determine

   damages, the entire range of fair market value that SRR calculated first should be recalculated

   and “shifted downward” based on the Court’s findings with respect to those certain components

   of the valuation that the Court found to be erroneous. My recalculation of the range of fair




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   market value, accepting in whole the Court’s adjustments, is set forth in the attached Schedule A

   and is summarized below:

                                                                                Adjusted for the
                                                          SRR Report            Court’s Findings
       Concluded Enterprise Value (in millions)       $275.0   –    $325.0    $258.4    –    $308.5

       Fair Market Value of Equity (in millions)      $256.0   –    $302.0    $241.1    –    $286.5

       Per Share Value                                $3,865   –    $4,555    $3,638    –    $4,323

              The $4,235 per share that the ESOP paid for Constellis stock falls within the adjusted

   range of fair market value (on a price per share basis).

   II.        Background

              On pages 59 through 64 of the Memorandum Opinion, the Court analyzed nine different

   alleged errors in the SRR valuation. The Court ruled that six of the errors impacted the price that

   the ESOP paid for the stock, and, in a chart on page 65 of the Memorandum Opinion, the Court

   described that the “Findings of Impact on Price” totaled $29,773,250 (the “Findings). The

   Court’s quantification of the Findings was based, with some adjustments, on a damage analysis

   identified by Plaintiff’s expert, Dana Messina, in his trial testimony and his April 13, 2016

   report.1

              After quantifying its Findings, the Court, on page 65, calculated damages by subtracting

   the aggregate value of the Findings ($29,773,250) from the price that that ESOP paid for the



   1
     My opinion described herein should not be construed to imply that I agree with Mr. Messina’s
   calculation of damages. Although I disagree with Mr. Messina’s analyses and calculations, I
   assume only for purposes of this declaration, that those amounts that Mr. Messina calculated that
   the Court relied upon are correct.




                                                     2
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   shares it acquired ($201,529,032.77) (the “ESOP Purchase Price”). The Court’s damage

   calculation is incorrect for four primary reasons:

       •   Five of the six Messina calculations that the Court adopted in its Finding represent

           “Enterprise Value” adjustments. The Court erred by applying these five Findings to the

           ESOP Purchase Price, which represents “Equity Value.” As described in the

           Memorandum Opinion at page 11, the Equity Value of Constellis is derived from its

           Enterprise Value by subtracting debt, adding cash, and adjusting for other factors such as

           marketability and dilutive securities. Applying Enterprise Value adjustments to the

           Equity Value-based ESOP Purchase Price overstates damages.


       •   Certain of Mr. Messina’s calculations that the Court adopted in its Finding affect only

           one of the two valuation methodologies that SRR used in determining Enterprise Value.

           The Court did not adjust those amounts to reflect the relative weighting of the two

           methodologies in arriving at Enterprise Value. Applying the Findings without adjusting

           for the relative weighting assigned to each valuation method overstates damages.


       •   Certain adjustments that are made to Enterprise Value in order to arrive at Equity Value

           are “value-dependent”2 and, as a result, also must be re-calculated when other valuation

           inputs change. Accordingly, the Court has erred by not accounting for the corresponding

           changes in down-the-line adjustments that were impacted by the Court’s other rulings.




   2
    For example, the 5% Discount for Lack of Marketability (row 12) is dependent upon the
   Marketable Value of Equity (row 11).




                                                    3
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          •   Finally, any adjustment to the Fair Market Value of Equity would equally affect all

              stockholders. Since the ESOP purchased only 47,587 out of 66,270 shares (75%) of

              Constellis, the Court erred by applying the Findings only to the ESOP Purchase Price,

              which represents the “Equity Value” of the 47,587 shares purchased by the ESOP, rather

              than the entire 66,270 shares of Constellis.


   III.       Description of Calculations Underlying My Opinion

              Using the Court’s Findings, and accepting as correct the dollar amounts the Court

   attributed to each error, I calculated the impact of the Findings on the range of low and high

   values determined in the SRR Report.

              Schedule B shows my calculations to arrive at a new low end of the range of fair market

   value, as adjusted to account for the Findings. A step-by-step description of my calculations is

   set forth below:

          •   Column 1 represents the “Low” conclusions set forth in Exhibit 1 of the SRR Report.

          •   Column 2 incorporates the effect of the Court’s findings related to “Reliance on

              Management’s Growth Projections.”


              o First, I made the Court’s adjustment of $4.325 million only to the conclusion from

                 SRR’s Discounted Cash Flow Method (row 3) since SRR’s Guideline Company

                 Method was not based on management growth projections. Based on SRR’s implicit

                 weighting of 60% (row 4) to the Discounted Cash Flow Method, I calculated the

                 discrete impact of this adjustment to be a reduction in Constellis’ Enterprise Value of

                 $2.595 million (row 5).




                                                       4
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          o Second, in column 2, I made additional adjustments to reflect that several of the

             calculations necessary to derive Constellis’ Equity Value are value-dependent. For

             example, the Discount for Lack of Marketability (row 12) is not a static number, but

             rather fluctuates with the Marketable, Control Value of Equity (row 11). Similarly,

             the Dilution from Stock Options (row 14) and After-Tax Change of Control Bonus

             (row 15) figures are each dependent upon Constellis’ per share equity value. In other

             words, one cannot change Constellis’ Enterprise Value independent of other figures

             which are value-dependent. I calculated the discrete impact of this adjustment to be a

             reduction in Constellis’ Fair Market Value of Equity (row 16) of $2.338 million, or

             approximately $35 per share (row 18).


      •   Column 3 incorporates the effect of the Court’s findings related to “Use of 0.7 Beta.”


          o First, I made the Court’s adjustment of $2.936 million only to the conclusion from

             SRR’s Discounted Cash Flow Method since SRR’s Guideline Company Method was

             not based on a beta input. Based on SRR’s implicit weighting of 60% to the

             Discounted Cash Flow Method, I calculated the discrete impact of this adjustment to

             be a reduction in Constellis’ Enterprise Value of $1.762 million.


          o Second, in column 3, I adjusted for the value-dependent components and calculated

             the discrete impact of this adjustment to be a reduction in Constellis’ Fair Market

             Value of Equity of $1.496 million, or approximately $23 per share.




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      •   Column 4 incorporates the effect of the Court’s findings related to “Inclusion of Control

          Premium.”


          o First, I made the Court’s adjustment of $8.186 million only to the conclusion from

             SRR’s Guideline Company Method (row 1). Based on SRR’s implicit weighting of

             40% (row 2) to the Guideline Company Method, I calculated the discrete impact of

             this adjustment to be a reduction in Constellis’ Enterprise Value of $3.274 million.

             The Court made a separate adjustment for an implicit control premium (column 5) in

             the Discounted Cash Flow Method.


          o Second, in column 4, I adjusted for the value-dependent components and calculated

             the discrete impact of this adjustment to be a reduction in Constellis’ Fair Market

             Value of Equity of $2.832 million, or approximately $43 per share.


      •   Column 5 incorporates the effect of the Court’s findings related to “Failure to Include

          Lack of Control Discount.”


          o First, I made the Court’s adjustment of $9.715 million only to the conclusion from

             SRR’s Discounted Cash Flow Method. See Opinion at page 62 (“some lack of control

             discount ought to have been applied to the DCF analysis.”) Based on SRR’s implicit

             weighting of 60% to the Discounted Cash Flow Method, I calculated the discrete

             impact of this adjustment to be a reduction in Constellis’ Enterprise Value of $5.829

             million. The Court made a separate adjustment for the inclusion of a control premium

             (column 4) in SRR’s Guideline Company Method.




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          o Second, in column 5, I adjusted for the value-dependent components and calculated

             the discrete impact of this adjustment to be a reduction in Constellis’ Fair Market

             Value of Equity of $5.078 million, or approximately $78 per share.


      •   Column 6 incorporates the effect of the Court’s findings related to “Stock Appreciation

          Rights.”


          o First, I included the Court’s adjustment of $1.611 million (row 9) as one of the

             adjustments to Constellis’ Equity Value.


          o Second, in column 6, I adjusted for the value-dependent components and calculated

             the discrete impact of this adjustment to be a reduction in Constellis’ Fair Market

             Value of Equity of $1.043 million, or approximately $16 per share.


      •   Column 7 incorporates the effect of the Court’s findings related to “Rounding.”


          o First, I made the Court’s adjustment of $3.000 million directly to Constellis’

             Enterprise Value.


          o Second, in column 7, I adjusted for the value-dependent components and calculated

             the discrete impact of this adjustment to be a reduction in Constellis’ Fair Market

             Value of Equity of $2.281 million, or approximately $34 per share.


      •   Column 8 shows the aggregate effect on Constellis’ Enterprise Value of the Court’s six

          adjustments, which I calculated as $18.071 million (row 5) and the aggregate effect on




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             Constellis’ Fair Market Value of Equity, which I calculated as $15.069 million (row 16),

             or approximately $227 per share (row 18).


         •   Column 9 represents the “Low” conclusions set forth in Exhibit 1 of the SRR Report

             adjusted for the aggregate impact of the Findings. As shown, I calculated the adjusted

             low Enterprise Value to be $258.5 million, the adjusted low Fair Market Value of Equity

             to be $241.1, and the adjusted low Fair Market Value of Equity Per Share to be $3,638.


             Schedule C shows my calculations to arrive at a new high end of the range of fair market

   value, as adjusted to account for the Findings. Column 1 represents the “high” conclusions set

   forth in Exhibit 1 of the SRR Report. The column by column adjustments (Columns 2 through 8)

   were made in an identical matter as on Schedule B.

             Column 9 represents the “High” conclusions set forth in Exhibit 1 of the SRR Report

   adjusted for the aggregate impact of the Findings. As shown, I calculated the adjusted high

   Enterprise Value to be $308.5 million, the adjusted high Fair Market Value of Equity to be

   $286.5, and the adjusted high Fair Market Value of Equity Per Share to be $4,323.

   IV.       Conclusion

             For the reasons set forth herein, it is my opinion that the Court erred in calculating the

   aggregate amount of damages. It is also my opinion, consistent with the Court’s ruling on page

   65, that in order to determine damages, the entire range of fair market value that SRR calculated

   first should be recalculated and “shifted downward” based on the Court’s findings with respect to

   those certain components of the valuation that the Court found to be erroneous. My recalculation




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   of the range of fair market value, accepting in whole the Court’s adjustments, is set forth in the

   attached Schedule A and is summarized below:


                                                                                 Adjusted for the
                                                         SRR Report              Court’s Findings
    Concluded Enterprise Value (in millions)         $275.0    –   $325.0      $258.4    –    $308.5

    Fair Market Value of Equity (in millions)        $256.0    –   $302.0      $241.1    –    $286.5

    Per Share Value                                  $3,865    –   $4,555      $3,638    –    $4,323

          The $4,235 per share that the ESOP paid for Constellis stock falls within the adjusted

   range of fair market value (on a price per share basis).

   AND FURTHER THE DECLARANT SAYETH NAUGHT.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.




   April 10, 2017
   DATE                                          JEFFREY S. TARBELL, ASA, CFA




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Schedule A. Adjustment of SRR's Valuation Conclusion by the Findings
in thousands, except per share figures

U.S. Dollars in Thousands                                    Indicated Range of Value                         Indicated Range of Value
                                                                  SRR Exhibit A                              Adjusted for the Findings [1]
                                                              Low                High                          Low                 High
                                                                                                            (Schedule B)        (Schedule C)

Guideline Company Method                                     $290,000    –       $345,000                     $281,814     –      $336,814
Discounted Cash Flow Method                                  $265,000    –       $314,000                     $248,024     –      $297,024

Concluded Enterprise Value                                   $275,000    –       $325,000 [a]                 $258,540     –      $308,540 [2]
Interest Bearing Debt                                        -$17,391    –       -$17,391 [b]                  -$17,391    –       -$17,391
Cash and Cash Equivalents                                     $22,540    –        $22,540 [c]                   $22,540    –        $22,540
CFO Severance Liability                                         -$792    –          -$792                         -$792    –          -$792
Stock Appreciation Rights                                          $0    –             $0                       -$1,611    –        -$1,611
Total Adjustments                                              $4,357    –         $4,357                        $2,746    –         $2,746
Marketable, Control Value of Equity                          $279,000    –       $329,000                     $261,286     –      $311,286
DLOM of 5%                                                   -$13,950    –       -$16,450                      -$13,064    –       -$15,564
Nonmarketable, Control Value of Equity                       $265,000    –       $265,000                     $248,222     –      $295,722
Dilution from Stock Options                                     -$300    –          -$400                         -$291    –          -$345
After-Tax Change of Control Bonus                              -$8,943   –       -$10,540 [d]                   -$6,854    –        -$8,891

Fair Market Value of Equity                                  $256,000    –       $302,000                     $241,077     –      $286,486
Divided by: Shares Outstanding                                 66.270    –         66.270                        66.270    –         66.270

Fair Market Value of Equity Per Share                          $3,865    –         $4,555                        $3,638    –         $4,323

SRR Footnotes:
a. Based on a weighted average of the Guideline Company Method and the Discounted Cash Flow Method, with the Discounted Cash Flow Method
   weighted more heavily than the Guideline Company Method.
b. Based on pro forma balance sheet as of the Transaction Date provided by the Company.
c. Equal to cash balance as of November 30, 2013 which represents a normalized level of cash.
d. Based on 5.0% of fair market value of equity.

Additional Footnotes:
1. Figures are not rounded
2. Assumes that Guideline Company Method is weighted 40% and Discounted Cash Flow Method is weighted 60%.
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Schedule B. Adjustment of SRR's "Low" Value by the Findings
in thousands, except per share figures




                                                       Column 1    Column 2    Column 3     Column 4   Column 5 Column 6 Column 7 Column 8 Column 9 Column 10
                                                                                                        Failure to
                                                                 Reliance                                 Include                   Aggregate
                                                                on Mgmt's                    Inclusion    Lack of    Stock           Impact of
                                                                   Growth      Use of 0.7   of Control    Control  Apprec.                 the Adjusted
                                                        SRR Low      Proj.          Beta     Premium    Discount    Rights Rounding   Findings SRR Low Difference

Row 1         Guideline Company Method                  $290,000                              -$8,186                                  -$8,186   $281,814
Row 2         Weighting                                                                          40%
Row 3         Discounted Cash Flow Method               $265,000     -$4,325     -$2,936                -$9,715                       -$16,976   $248,024
Row 4         Weighting                                                 60%         60%                    60%
Row 5         Concluded Enterprise Value                $275,000     -$2,595     -$1,762      -$3,274   -$5,829             -$3,000   -$16,460   $258,540   -$16,460

Row 6         Interest Bearing Debt                     -$17,391                                                                                 -$17,391
Row 7         Cash and Cash Equivalents                  $22,540                                                                                  $22,540
Row 8         CFO Severance Liability                      -$792                                                                                    -$792
Row 9         Stock Appreciation Rights                       $0                                                  -$1,611              -$1,611    -$1,611
Row 10        Total Adjustments                           $4,357                                                  -$1,611              -$1,611     $2,746

Row 11        Marketable, Control Value of Equity       $279,000     -$2,595     -$1,762      -$3,274   -$5,829   -$1,611   -$3,000   -$18,071   $261,286   -$17,714

Row 12        DLOM of 5%                                -$13,950       $130          $88        $164      $291       $81      $150       $904    -$13,064      $886

Row 13        Nonmarketable, Control Value of Equity    $265,000     -$2,465     -$1,674      -$3,111   -$5,538   -$1,530   -$2,850   -$17,168   $248,222   -$16,778

Row 14        Dilution from Stock Options                  -$300         $1           $0          $2        $7        -$1       $1         $9       -$291        $9

Row 15        After-Tax Change of Control Bonus          -$8,943       $126         $178        $276      $453      $489      $568     $2,089     -$6,854    $2,089

Row 16        Fair Market Value of Equity               $256,000     -$2,338     -$1,496      -$2,832   -$5,078   -$1,043   -$2,281   -$15,069   $241,077   -$14,923

Row 17        Divided by: Shares Outstanding              66.270      66.270      66.270       66.270    66.270    66.270    66.270    66.270      66.270     0.000

Row 18        Fair Market Value of Equity Per Share       $3,865        -$35        -$23         -$43      -$77      -$16      -$34     -$227      $3,638     -$227
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Schedule C. Adjustment of SRR's "High" Value by the Findings
in thousands, except per share figures




                                                       Column 1    Column 2    Column 3     Column 4   Column 5 Column 6 Column 7 Column 8 Column 9 Column 10
                                                                                                        Failure to
                                                                 Reliance                                 Include                   Aggregate
                                                                on Mgmt's                    Inclusion    Lack of    Stock           Impact of
                                                                   Growth      Use of 0.7   of Control    Control  Apprec.                 the Adjusted
                                                        SRR Low      Proj.          Beta     Premium    Discount    Rights Rounding   Findings SRR Low Difference

Row 1         Guideline Company Method                  $345,000                              -$8,186                                  -$8,186   $336,814
Row 2         Weighting                                                                          40%
Row 3         Discounted Cash Flow Method               $314,000     -$4,325     -$2,936                -$9,715                       -$16,976   $297,024
Row 4         Weighting                                                 60%         60%                    60%
Row 5         Concluded Enterprise Value                $325,000     -$2,595     -$1,762      -$3,274   -$5,829             -$3,000   -$16,460   $308,540   -$16,460

Row 6         Interest Bearing Debt                     -$17,391                                                                                 -$17,391
Row 7         Cash and Cash Equivalents                  $22,540                                                                                  $22,540
Row 8         CFO Severance Liability                      -$792                                                                                    -$792
Row 9         Stock Appreciation Rights                       $0                                                  -$1,611              -$1,611    -$1,611
Row 10        Total Adjustments                           $4,357                                                  -$1,611              -$1,611     $2,746

Row 11        Marketable, Control Value of Equity       $329,000     -$2,595     -$1,762      -$3,274   -$5,829   -$1,611   -$3,000   -$18,071   $311,286   -$17,714

Row 12        DLOM of 5%                                -$16,450       $130          $88        $164      $291       $81      $150       $904    -$15,564      $886

Row 13        Nonmarketable, Control Value of Equity    $265,000     -$2,465     -$1,674      -$3,111   -$5,538   -$1,530   -$2,850   -$17,168   $295,722   $30,722

Row 14        Dilution from Stock Options                  -$400         $9           $7         $10       $14        $6        $9        $55       -$345       $55

Row 15        After-Tax Change of Control Bonus         -$10,540        $47         $101        $202      $380      $419      $500     $1,649     -$8,891    $1,649

Row 16        Fair Market Value of Equity               $302,000     -$2,410     -$1,565      -$2,899   -$5,143   -$1,105   -$2,341   -$15,464   $286,486   -$15,514

Row 17        Divided by: Shares Outstanding              66.270      66.270      66.270       66.270    66.270    66.270    66.270    66.270      66.270     0.000

Row 18        Fair Market Value of Equity Per Share       $4,555        -$36        -$24         -$44      -$78      -$17      -$35     -$233      $4,323     -$232
                                                                                                                                                                       Case 1:15-cv-01494-LMB-IDD Document 310-1 Filed 04/10/17 Page 12 of 12 PageID# 11320
